              Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 1 of 38




                         IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


    ELVIRA LOPEZ, individually and on behalf of all           )
    others similarly situated,                                ) Case No.:
                                                              )
                                   Plaintiff,                 )
          v.                                                  )
                                                              ) JURY TRIAL DEMANDED
    MAYBORN USA, INC,                                         )
                                                              )
                                   Defendant.                 )


                                   CLASS ACTION COMPLAINT

         Plaintiff Alvira Lopez (“Plaintiff”), individually and on behalf of all others similarly

situated, by and through her attorneys, brings this class action complaint against Defendant

Mayborn USA, Inc. (“Defendant” or “Mayborn”) and alleges the following upon information and

belief, except for those allegations pertaining to Plaintiff, which are based on personal knowledge:


                                     NATURE OF THE ACTION

         1.       This is a class action lawsuit regarding Defendant’s manufacturing, distribution,

advertising, marketing, labeling, distribution, and sale of its Tommee Tippee branded Bottle

Bottles (“Products”) 1 that are sold nationwide and marketed as, among other things, “BPA Free”

(“Representations”). Unfortunately for all reasonable consumers, including Plaintiff, these claims

are false and misleading.




1
  The Products refer to the following Tommee Tippee product varieties: Feeding Bottles, Storage Bottles,
Feeding and Storage Bottle Sets, and Anti Colic bottles. Plaintiff reserves the right to amend the complete
list of Products subject to this lawsuit based on facts obtained in discovery. All of the Products contain the
same substantially similar representations and omissions about being “BPA Free” that Plaintiff and the
Class read and relied on before purchasing the Products.
             Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 2 of 38




        2.       Far from being “BPA Free,” the Products contain considerable amounts of harmful

microplastics.

        3.       Despite including harmful microplastics in its Products, Defendant goes to

considerable lengths to mislead consumers into believing the Products are safe, good for them, and

BPA Free. Moreover, Defendant omits the Products contain harmful microplastics, especially

when heated – a material fact to Plaintiff and all reasonable consumers – on the Products’ labeling

and marketing.

        4.       Defendant makes the Representations and material omissions to increase profits

and market share in the growing baby products market where safety is a significant consumer

purchasing decision. Indeed, consumers value products free of BPA that promote safety.

        5.       Consumers have become increasingly concerned about the effects of synthetic,

artificial, and chemical ingredients in food, dietary supplements, cleaning products, bath and

beauty products, and everyday household products. Companies like Defendant have capitalized on

consumers’ desire for purportedly “natural products.” Indeed, consumers are willing to pay and

have paid a premium for products branded “natural” over products that contain synthetic

ingredients. In 2015, sales of natural products grew 9.5% to $180 billion. 2 Reasonable consumers,

including Plaintiff and Class Members, value natural products for important reasons, including the

belief that they are safer and healthier than alternative products not considered “BPA Free.”




2
   Natural Products Industry Sales up 9.5% to $180bn Says NBJ, FOOD NAVIGATOR,
http://www.foodnavigator-usa.com/Markets/EXPO-WEST-trendspotting-organics-natural-
claims/(page)/6; see also Shoshanna Delventhal, Study Shows Surge in Demand for “Natural” Products,
INVESTOPEDIA (February 22, 2017), http://www.investopedia.com/articles/investing/022217/study-
shows-surge-demand-natural-products.asp (Study by Kline Research indicated that in 2016, the personal
care market reached 9% growth in the U.S. and 8% in the U.K. The trend-driven natural and organic
personal care industry is on track to be worth $25.1 million by 2025); Natural living: The next frontier for
growth? [NEXT Forecast 2017], NEW HOPE NTWORK (December 20, 2016),
http://www.newhope.com/beauty-and-lifestyle/natural-living-next-frontier-growth-next-forecast-2017.


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            Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 3 of 38




       6.       Before placing the Products into the stream of commerce and into the hands of

consumers to purchase and children to put in their mouths, Defendant knew or should have known

that the Products contained harmful microplastics. However, Defendant misrepresented, omitted,

and concealed this material fact to all reasonable consumers, including Plaintiff and Class

members, by not including this information anywhere on the Products’ labeling.

       7.       Plaintiff and Class members reasonably relied on Defendant’s Representations and

material omissions when purchasing the Products.

       8.       Plaintiff and Class members purchased the Products and paid a price premium

based on Defendant’s Representations and omissions.

       9.       Because Defendant’s false and misleading Representations dupe reasonable

consumers into believing the Products feature premium attributes (i.e., BPA-Free), Defendant’s

Representations thus dupe reasonable consumers into paying premium prices for the Products,

even though they do not actually feature the premium attributes for which the consumers, including

Plaintiff and class members, pay.

       10.      Defendant is, therefore, liable to Plaintiff and Class members for selling the

Products without disclosing that the Products contain harmful microplastics.

       11.      This lawsuit seeks to recover monetary damages on behalf of Plaintiff and a

Nationwide Class of purchasers of the Products, including Connecticut.

                                             PARTIES

       12.      Plaintiff Elvira Lopez is a resident and citizen of Hunting Park, California. Plaintiff

has purchased numerous varieties of the Products during the relevant statutory period, including

Tommee Tippee Advanced Anti-Colic Baby Bottle Set. Most recently, Plaintiff purchased the

Products at Target in California in or around May 2024.




                                                  3
             Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 4 of 38




          13.     Plaintiff and reasonable consumers believe that “BPA Free” products do not contain

harmful microplastics. Plaintiff and reasonable consumers believe “BPA Free” means that the

Products do not pose the danger of harmful plastics when used as intended.

          14.     When purchasing the Products, Plaintiff read and reviewed the accompanying

labels and disclosures and understood them as representations and warranties by Defendant that

the Products were adequately manufactured, labeled, free from defects, and that the

Representations were true. Plaintiff read and relied on Defendant’s Representations and warranties

when deciding to purchase the Products, and these Representations and warranties were part of the

basis of the bargain. Had Defendant not made the false, misleading, and deceptive Representations

and omissions alleged herein regarding the Products, Plaintiff would not have been willing to

purchase the Products. Plaintiff paid a price premium for the Products based on Defendant’s

Representations, material omissions, and warranties. Accordingly, Plaintiff was injured and lost

money due to Defendant’s mislabeling and deceptive conduct.

          15.     Defendant Mayborn USA, Inc. is a corporation with its principal place of business

and headquarters in Stamford, Connecticut.

          16.     Mayborn represents itself as “the parent group for well-loved brand Tommee

Tippee.” 3

          17.     Tommee Tippee represents itself as a company that “for decades [] has been

designing products that enhance a parent’s intuition, and engineering solutions to make caring for

babies easier, simpler, and more instinctive.” 4

          18.     Tommee Tippee is a well-known brand to consumers for baby products, including

baby bottles.


3
    https://www.mayborngroup.com/
4
    https://www.tommeetippee.com/en-us/about-us


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         Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 5 of 38




       19.     Under the Tommee Tippee brand, Defendant sells the Products throughout the

United States, including Connecticut. The Products, including those purchased by Plaintiff and

Class members, are available at various retail stores throughout the United States, including

Connecticut. Defendant authorized the false, misleading, and deceptive marketing, advertising,

distribution, and sale of the Products to consumers nationwide, including Connecticut.

       20.     Plaintiff reserves the right to amend this lawsuit to include any additional

defendants who may be subject to these allegations regarding the false advertising of the Products.

                                 JURISDICTION AND VENUE

       21.     This Court has subject-matter jurisdiction pursuant to the Class Action Fairness

Act, 28 U.S.C. § 1332(d) because (1) the matter in controversy exceeds the sum or value of

$5,000,000, exclusive of interest and costs, (2) the action is a class action, (3) there are members

of the Class who are diverse from Defendant, and (4) there are more than 100 Class members. This

Court has supplemental jurisdiction over state law claims pursuant to 28 U.S.C. § 1367 because

they form part of the same case or controversy as the claims within the Court’s original jurisdiction.

       22.     This Court has personal jurisdiction over Defendant because the claims asserted in

this complaint arise from Defendant’s contacts with this District. Defendant has been afforded due

process because it has, at all times relevant to this matter, individually or through its agents,

subsidiaries, officers, and/or representatives, operated, conducted, engaged in, and carried on a

business venture in Connecticut, and/or marketed, advertised, distributed and/or sold the Products,

committed a statutory violation within Connecticut related to the allegations made herein, and

caused injuries to Plaintiff and putative Class Members, which arose out of the acts and omissions

that occurred in the state of Connecticut, during the relevant time period. At that time, Defendant

was engaged in business activities in Connecticut.




                                                  5
           Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 6 of 38




         23.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claims asserted in this complaint

occurred in Connecticut. Venue is also proper pursuant to 28 U.S.C. § 1391(c) because Defendant

conducts substantial business in this District, has sufficient minimum contacts with this District,

and otherwise purposely avails itself of the markets in this District through the promotion, sale,

and marketing of the Products in this District. Venue is also proper because Defendant’s principal

place of business is in Connecticut.

                                COMMON FACTUAL ALLEGATIONS

Microplastics Harm Human Health.

         24.     Microplastics are small plastic particles less than 5 millimeters in diameter that

form when solid plastics break down through abrasion, degradation, or chemical processes such

as exposure to heat. 5 These tiny particles can significantly affect human health, especially

children. 6

         25.     Studies show that microplastics alter the composition of gut microbiota, which play

a crucial role in digestion, nutrient absorption, and immune system development. 7 Furthermore,

microplastics “produc[e] a toxic effect on the digestive tract,” that causes irreversible changes in

the reproductive axis and central nervous system of offspring after prenatal and neonatal exposure,




5
  See Sumon Sarkar, Hanin Diab & Jonthan Thompson, Microplastic Pollution: Chemical Characterization and Impact
on Wildlife, 20(3) Int. J. Environ. Res. Public Health 1745 (2023).
6
  See Raffaele Marfella et al., Microplastics and Nanoplastics in Atheromas and Cardiovascular Events, 390 NEW
ENGLAND J. MED. 900–910 (Mar. 6, 2024), https://www.nejm.org/doi/full/10.1056/NEJMoa2309822 (concluding
that “patients with carotid artery plaque in which [microplastics and nanoplastics (MNPs)] were detected had a higher
risk of a composite of myocardial infarction, stroke, or death from any cause at 34 months of follow-up than those in
whom MNPs were not detected”).
7
   See Alba Tamargo et al., PET Microplastics Affect Human Gut Microbiota Communities During Simulated
Gastrointestinal Digestion, First Evidence of Plausible Polymer Biodegradation During Human Digestion, 12 SCI.
REPS. 528 (Jan. 11, 2022), https://doi.org/10.1038/s41598-021-04489-w (“The work presented here indicates that
microplastics are indeed capable of digestive-level health effects.”).


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            Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 7 of 38




affect the immune system due to their physicochemical properties, and can cause chronic

pulmonary disease. 8

           26.   Due to their small size, microplastics can bioaccumulate, which results in

compounding adverse health effects, such as growth and reproduction issues, DNA damage due to

oxidative stress, inflammation, physical stress, weakened immunity, histological damage, or even

death. 9

           27.   Digestion or oral intake is the most significant mode of microplastic transmission

into the human body. 10

Microplastics Are Particularly Harmful to Children.

           28.   The dangers of microplastic exposure are particularly severe for infants, as these

early encounters with microplastics can pave the way for chronic health conditions that can

manifest over a lifetime. 11 Exposure to even low doses of microplastics during a child’s early

development may cause long-term health complications later in life. 12 Experts in microplastics

warn that infants, with their entire lives ahead of them, face a heightened risk of developing

lifelong ailments due to their prolonged exposure to microplastics starting from such a young

age. 13




8
   Nur Hanisah Amran et al., Exposure to Microplastics During Early Developmental Stage: Review of Current
Evidence, 10 TOXICS 597 (Oct. 10, 2022), https://doi.org/10.3390/toxics10100597.
9
  Id.
10
   Id.
11
   Id.; see also Liping Liu et al., Release of Microplastics from Breastmilk Storage Bags and Assessment of Intake by
Infants:      A     Preliminary      Study,    323     ENV’T       POLLUTION        (Apr.    15,   2023),     at   2,
https://doi.org/10.1016/j.envpol.2023.121197 (“Exposure to low doses of [microplastics] during early development
may cause perturbation of gas and nutrients exchange and induce long-term health effects.”).
12
   Amran supra note 6.
13
   Liping Liu et al., Release of Microplastics from Breastmilk Storage Bags and Assessment of Intake by Infants:
A          Preliminary       Study, 323         ENV’T POLLUTION           (Apr. 15,        2023), at        1,
https://doi.org/10.1016/j.envpol.2023.121197 (“Infancy is known to be a sensitive window for environmental
exposure, which may increase susceptibility to certain diseases in adulthood.”).


                                                         7
             Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 8 of 38




        29.       During critical periods of development, such as infancy and early childhood,

exposure to microplastics can profoundly impact various bodily systems—including the digestive,

reproductive, central nervous, immune, and circulatory systems—leading to long-term health

impairments. 14

        30.       This extreme harm is particularly critical in infants, who may suffer from a wide

array of severe health issues because of microplastic exposure. One study found that average fecal

microplastic levels were over ten times higher in infants than in adults. 15 Scientists studying

microplastics and early child development have therefore emphasized that “enacting solid

legislative laws and policies to manage the excessive use of plastic products is crucial; otherwise,

the health of ecosystems and living organisms will inevitably deteriorate in the coming years. […]

We feel that the government and industries must exert the most significant effort to protect children

from MPs [microplastics] exposure. These procedures include avoiding plastic contact of

children’s meals[.]” 16

        31.       Another study emphasized the consequences of microplastic ingestion on

cardiovascular systems, finding that subjects with “carotid artery plaque in which microplastics

were detected had a higher risk of a composite myocardial infarction, stroke, or death from any

cause.” 17

        32.       Despite the apparent dangers, Defendant actively conceals the known risks

associated with microplastic exposure, depriving parents of the ability to make informed choices

about their children’s health and well-being. The Products’ material omissions and the “BPA Free”



14
   Id.
15
   News Release, AM. CHEM. SOC’Y, Infants Have More Microplastics in Their Feces Than Adults, Study Finds
(Sept. 22,         2021),           https://www.acs.org/pressroom/newsreleases/2021/september/infants-have-more-
microplastics-in- their-feces-than-adults-study-finds.html.
16
   Amran supra note 6.
17
   Marfella, supra note 4.


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          Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 9 of 38




representations work in tandem to create a false sense of security, leading parents to believe that

their children will be safe from the severe consequences of using the Products. In reality, parents

are exposing their children to “irreversible changes in the reproductive axis and central nervous

system, ” among other harms. 18

     The Products Are Made of Polypropylene Plastic and Are Exposed to Heat Through
     Ordinary Use.

        33.     Plaintiff and other reasonable consumers understand that the regular and ordinary

use of baby bottles involves holding heated liquids (such as formula or breastmilk) and possibly

using boiling liquids for sterilization. Defendant fails to inform consumers that the Products made

of polypropylene “release microplastics with values as high as 16,200,000 particles per litre,” and

that “sterilization and exposure to high-temperature water significantly increase microplastic

release.” 19 By advertising and selling the Products without disclosing the material risks associated

with heating, Defendant jeopardizes the health and well-being of countless children and misleads

parents who trust in the safety of these Products.

        34.     Heating polypropylene releases 13.5% to 67.5% more microplastics into liquids at

140 degrees Fahrenheit than at 41 degrees. 20 Products with polypropylene plastic composition

release microplastics through sterilization and cleaning, shaking with warm water, and other high-

temperature water exposure during formula preparation procedures. 21 “Microplastics are synthetic

polymer compounds that form when large plastic materials are fragmented and micronized to a




18
   Amran supra note 6.
19
   Dunzhu Li et al., Microplastic Release from the Degradation of Polypropylene Feeding Bottles During Infant
Formula Preparation,       1        NATURE           FOOD 746,         746     (Nov. 2020),
https://doi.org/10.1038/s43016-020-00171-y.
20
   Guanyu Zhou et al., How Many Microplastics do We Ingest When Using Disposable Drink Cups?, 441 J.
HAZARDOUS MATERIALS (Jan. 2023), at 5, https://doi.org/10.1016/j.jhazmat.2022.129982.
21
   Li, supra note 18.


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          Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 10 of 38




size of ≤5 mm.” 22 One study found that polypropylene infant feeding bottles can produce up to 16

million microplastic particles per liter. 23 The amount of microplastics released increases with

exposure to high water temperatures and sterilization. 24

         35.      Current research shows that toddlers consuming microwaved dairy products from

polypropylene containers can intake up to 22.1 ng/kg per day of microplastics. 25 Another study

found that a single infant’s microplastic consumption through polypropylene feeding bottles

ranges from 14,600 to 4,550,000 particles per day. 26

         36.      Exposing plastic containers to higher temperatures leads to a more than twofold

increase in the total amount of microplastics released. 27 However, it is estimated that roughly 12%

of those who reheat breastmilk use the microwave. 28 Defendant fails to warn consumers that its

Products should not be heated due to extreme microplastic exposure increases.

         37.      Additionally, many parents sanitize baby feeding products via exposure to heat,

such as by boiling the products. 29 One study found that over 10 million polypropylene

microplastics per liter are released during a single boil. 30 The CDC recommends that caretakers

sterilize baby feeding equipment daily. 31 Even if the Products are not heated with milk, the

sterilization heat still causes the Products to release copious amounts of microplastics.


22
   Yongjin Lee et al., Health Effects of Microplastic Exposures: Current Issues and Perspectives in South Korea, 64
YONSEI MED. J. 301, 301 (May 2023), https://doi.org/10.3349/ymj.2023.0048.
23
   Li, supra note 18.
24
   Id.
25
   Kazi Albab Hussain et al., Assessing the Release of Microplastics and Nanoplastics from Plastic Containers and
Reusable Food Pouches: Implications for Human Health, 57 ENV’T SCI. & TECH. 9782, 9782 (2023),
https://pubmed.ncbi.nlm.nih.gov/37343248/.
26
   Id.
27
   Id.
28
    See id. (“These findings are consistent with a previous study that reported a 2 order magnitude increase in
microplastics release from polypropylene infant feeding bottles into water when temperatures increased from 25 to 95
°C.”).
29
   Li, supra note 18.
30
   Centers for Disease Control and Prevention, How to Clean, Sanitize, and Store Infant Feeding Items (Apr. 16, 2024),
https://www.cdc.gov/hygiene/childcare/clean-sanitize.html.
31
   How to Clean, Sanitize, and Store Infant Feeding Items, supra note 29.


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         Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 11 of 38




        38.    Despite these apparent risks, Defendant fails to inform consumers of the need to

mitigate the associated microplastic release to prevent them from entering the food and drink in

the Products, such as by repeated subsequent rinses with cold water. 32

     The Products are Intended to be Heated daily and for constant use by Babies and Their
     Caregivers.

        39.    The Products are essential feeding devices that infants and young children use

multiple times daily.33 It is a well-known fact that babies often have their bottles or cups in or near

their mouths for extended periods. This constant, repeated exposure to the Products significantly

amplifies the risk posed by the microplastics they leach.

        40.    The danger of microplastics lies not just in a single exposure but in their ability to

bioaccumulate in the body over time. Each instance of exposure compounds the potential for long-

term harm. For infants and young children, who are in a critical stage of development, this

accumulated exposure can have devastating consequences. When parents use Defendant’s

Products to feed their children, as intended, they unwittingly expose their vulnerable infants to a

daily dose of microplastics. Over the weeks, months, and years of a child’s development, this

constant exposure can lead to a dangerous accumulation of microplastics in their young bodies,

putting them at risk for a host of serious health issues affecting their digestive system, immune

function, reproductive health, and more. The cumulative nature of this risk makes Defendant’s

misconduct all the more egregious and the need for accountability all the more urgent.




32
  Li, supra note 18.
33
   Mary L. Gavin, Formula Feeding FAQs: How Much and How Often, KIDS HEALTH (November 2021)
https://kidshealth.org/en/parents/formulafeed
often.html#:~:text=Newborns%20and%20young%20babies%20should,about%20every%203%E2
%80%934%20hours.


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        Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 12 of 38




       Defendant’s Products’ Labeling Contains False and Misleading Representations.

       41.    Defendant manufacturers, markets, sells, and distributes the Tommee Tippee

branded Products, which all contain the exact substantially similar “BPA Free” front-label

representations as depicted below:




                                           12
Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 13 of 38




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        Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 14 of 38




       Defendant’s “BPA Free” Representations are also made consistently on Defendant’s

website, https://www.tommeetippee.com/en-us/, and Defendat’s Products’ pages on various

retailers’ websites. For example:




       42.     Defendant’s Products are manufactured, distributed, and sold throughout the

United States, including Connecticut. They are sold in-store at mass-market retailers and online at

places like Amazon.com. Defendant’s “BPA Free” Representations appear on the front labeling of

the Products, Defendant’s website, and retailers' websites.




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        Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 15 of 38




       43.     The Representations are forward-facing to the consumer. Reasonable consumers

read and relied on the Representations, which are false and misleading because the Products

produce harmful microplastics when heated for everyday use.

       44.     Had Plaintiff and Class Members known that the Products contained harmful

microplastics or risked containing harmful microplastics when used normally, Plaintiff and Class

Members would not have purchased the Products or would have paid less for them.

   Defendant Also Makes Material Omissions That Mislead Reasonable Consumers About
   the Products’ Safety and Conceals the Presence of Harmful Microplastics.

       45.     Defendant materially omits that the Products pose the danger of leaching

microplastics, which causes detrimental long-term harm to children. Reasonable consumers expect

manufacturers to disclose dangers associated with their products. This is especially true for

manufacturers of baby products as these products are intended for society’s most vulnerable

population, and therefore, consumers expect a heightened degree of safety for such products.

       46.     Defendant fails to live up to the reasonable consumer’s expectations of the Product

because the Product leaches microplastics into the bottle’s contents upon heating through ordinary

use, contaminating the food babies and infants consume. Defendant, therefore, misleads reasonable

consumers through its Representations and material omissions into believing the Products are safe

and do not pose any safety risks.

       Defendant Further Misleads Consumers About the Products’ Safety.

       47.     Defendant fails to disclose the safety risks and represents that the Products are

“BPA Free” on the front labels of its Products. “BPA” stands for Bisphenol A. BPA is a chemical

used to manufacture polycarbonate plastics that leach into food and beverages. BPA causes

negative health effects on the reproductive system, child development, metabolic disorders,




                                               15
             Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 16 of 38




obesity, endocrine disorders, and the nervous system. 34 BPA can also damage DNA, cause

oxidative stress, and promote certain breast cancers. 35 Bottles made with BPA present a similar

danger as bottles made from polypropylene as both bottles leach harmful substances when heated

and cause negative health impacts to the human digestive system, immune system, and

reproductive system. Reasonable consumers interpret “BPA Free” as meaning that the products do

not pose the danger of harmful plastics. In tandem with Defendant’s material omissions, reasonable

consumers believe that the Products are safe, i.e., do not pose the risks associated with harmful

plastics.

       Plaintiff and Reasonable Consumers Were Misled by Material Omissions and
       Representations When Buying Products.

           48.      Defendant manufactures, markets, promotes, advertises, labels, packages, and sells

the Products materially omitting the danger and risk from the Products’ front-facing labels and

packaging.

           49.      Defendant conspicuously displays the “BPA Free” claim on the Products' labeling

and packaging yet fails to tell consumers that the Products will leak dangerous microplastics

through ordinary use.

           50.      Defendant’s material omissions and Representations lead reasonable consumers,

like Plaintiff, into believing that the Products are safe—meaning, consumers are led to believe that

the Products are a safer choice for feeding babies and young children that do not pose a risk.

           51.      Defendant’s omissions are material to reasonable consumers, including Plaintiffs,

in deciding to buy the Products because reasonable consumers value information relating to the

Products’ safety. This is especially true when it concerns using the Products in their intended and



34
     Bisphenol A (BPA) Factsheet, supra note 1; M. Thoene, supra note 1.
35
     Id.


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        Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 17 of 38




ordinary way, which results in harmful plastics being consumed by babies—meaning that it is

important to consumers that the Products are safe and motivates them to buy them.

       52.    The Class, including Plaintiff, reasonably relied on Defendant’s omissions in

purchasing the Products.

       53.    Defendant’s omissions are deceptive because the Products leach microplastics into

milk and formula during ordinary use.

       54.    When purchasing the Products, the Class members, including Plaintiff, were

unaware and had no reason to believe that the omissions were misleading, deceptive, and unlawful.

The Products’ labeling and packaging led consumers to believe that the Products were free from

harmful plastic exposure. The Products did not contain a clear, unambiguous, and conspicuously

displayed statement informing reasonable consumers that the Products posed the risk of containing

harmful microplastics.

       Defendant’s Knowledge.

       55.    Defendant knew that the omissions were misleading, deceptive, and unlawful at the

time that Defendant manufactured, marketed, advertised, labeled, and sold the Products.

       56.    Defendant knew that the omissions would lead reasonable consumers into believing

that the Products would not expose their infants and young children to harmful microplastics. Not

only has Defendant utilized a long-standing brand strategy to identify the Products as safe, but

Defendant also has an obligation under section 5 of the Federal Trade Commission Act, codified

at 15 U.S.C. §§ 45, to evaluate its marketing claims from the perspective of the reasonable

consumer. That means Defendant was statutorily obligated to consider whether the omissions, in

isolation or conjunction with its marketing strategy, would mislead reasonable consumers into




                                               17
         Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 18 of 38




believing that the Products are free from harmful microplastic exposure. Thus, Defendant knew

that the omissions were misleading before it marketed the Products to the Class, including Plaintiff.

       57.     Defendant knew of its omissions’ materiality to consumers. First, manufacturers

and marketers, like Defendant, know safety is paramount for consumers of baby and infant

products. Here, the omission relates directly to the Products’ safety. Second, Defendant’s

awareness of the importance of the Products’ safety, specifically safety related to harmful plastics,

is reflected by its “BPA Free” representation on the Products’ front labels and packaging consistent

throughout all Product packaging and labeling. Third, it is common sense that information

concerning the risk of harmful microplastics and the Products' safety is material to consumers as

Defendant knows that the risk of health complications from using the Products would affect

whether consumers purchased them.

       58.     Even worse, as the manufacturer and marketer of the Products, Defendant had

exclusive control over the omissions and Representations on the Products’ labels, packaging, and

advertisements. Defendant could have easily disclosed the risks or rectified consumers’ misplaced

beliefs by informing them about the leaching of microplastics. However, despite Defendant’s

knowledge of the falsity of the omissions and its awareness that consumers reasonably rely on

these representations and omissions when deciding to purchase the Products, Defendant

deliberately chose to market the Products with the misleading omissions. This decision led

consumers to buy or overpay for the Products, believing they possessed attributes that Defendant

falsely advertised and warranted. Therefore, at all relevant times, Defendant knew that the

omissions would mislead reasonable consumers, such as Plaintiff, into purchasing the Products to

obtain the product attributes that Defendant deceptively portrayed.




                                                 18
         Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 19 of 38




       Defendant Had a Duty to Disclose.

       59.     Defendant had an obligation, at all relevant times, to disclose the material

omissions—that the Products leach harmful microplastics into milk or formula during ordinary

use. This crucial information, which Defendant deliberately withheld from consumers, is material

to their purchasing decisions and has far-reaching consequences for the health and well-being of

infants and young children. Defendant knew that reasonable consumers would perceive the

Products and the absence of the material omissions to mean that the Products were free from

harmful plastics. It was also known that this attribute was a key factor influencing consumers’

choices, causing them to rely on the absence of material omission when deciding to purchase the

products.

       60.     Consumers lack the meaningful ability to test or independently ascertain or verify

whether a product contains harmful microplastics, especially at the point of sale. Discovering this

information requires a scientific investigation and knowledge of chemistry beyond the average

consumer's.

       61.     Plaintiff and similarly situated consumers would not have purchased the Products

or would not have overpaid a price premium for them if they had known that the Products posed a

safety risk and, therefore, that the Products do not have the attribute claimed, promised, warranted,

advertised, and/or represented. Accordingly, based on Defendant’s material omissions, reasonable

consumers, including Plaintiff, purchased the Products to their detriment.

       Defendant’s Knowledge, Representations, Omissions, and Concealment of Material
       Facts Deceived Plaintiff and Reasonable Consumers – This Conduct is False and
       Deceptive.

       62.     To drive up sales in the competitive baby products market and expand its market

share, Defendant knowingly omits the material fact that the Products contain or risk containing

harmful microplastics when heated up and used normally.


                                                 19
         Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 20 of 38




       63.     Thus, reasonable consumers who are shopping for products free of BPA purchase

Defendant’s products based on the above Representations and material omissions made by

Defendant at the point of sale. But for Defendant’s false and misleading labeling Representations,

these customers would not have purchased Defendant’ Products or would not have paid as much

as they did.

       64.     Additionally, a large cross-section of customers, particularly those in the “clean

labeling” movements, will not consider purchasing products that contain or risk containing BPA.

These customers chose to purchase Defendant’s Products based on the false belief that they did

not have harmful microplastics and were safe to use as intended. But for Defendant’s false and

misleading labeling statements, these customers would not have purchased the Products or would

have paid less for the Products.

       65.     Defendant, a large, sophisticated nationwide company that manufactures,

distributes, and sells consumer products, including baby products, knew or should have known

that the products contained harmful microplastics.

       66.     Defendant sold, and continues to sell, the Products containing harmful

microplastics during the relevant class period despite Defendant’s knowledge of the presence of

harmful microplastics when the Products are heated during normal use.

       67.     Defendant has engaged in deceptive, untrue, and misleading advertising by making

labeling Representations discussed above. Defendant’s conduct is also deceptive because

Defendant omits the material fact that the Products contain harmful microplastics. Defendant’s

conduct is also unfair for all of the reasons discussed above.

       68.     Plaintiff would not have purchased the Products or paid as much for them had they

been truthfully and accurately labeled.




                                                 20
         Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 21 of 38




       69.     Had Defendant adequately tested the Products, it would have been discovered that

the Products contained harmful or risked harmful microplastics when heated during normal use,

making the Products containing the false Representations illegal to distribute, market, and sell.

       70.     Defendant’s concealment was material and intentional because people are

concerned with what is in the products they and their children use to put in their mouths.

Consumers such as Plaintiff and class members make purchasing decisions based on the

Representations made on the Products’ labeling.

       71.     Defendant knows that if it had not made the material omissions and

Representations, then Plaintiff and class members would not have purchased the Products or would

not have paid as much as they did.

       Injuries to Plaintiff and Class Members – and the Public at Large.

       72.     When Plaintiff purchased Defendant’s Products, Plaintiff did not know and had no

reason to know that Defendant’s Products contained harmful microplastics.

       73.     Indeed, consumers cannot test or independently ascertain or verify whether a

product contains harmful microplastics, especially when heated, at the point of sale. Therefore,

they must trust and rely on Defendant to truthfully and honestly report what the Products contain

on their packaging and labeling.

       74.     Further, given Defendant’s position as a nationwide leader in the consumer

products and baby products industry, Plaintiff and all reasonable consumers trusted and relied on

Defendant’s Representations and omissions regarding the Products.

       75.     Yet, when consumers look at the Products’ packaging, there is no mention of

microplastics. On the contrary, the Products say they are “BPA Free.”

       76.     No reasonable consumer, including Plaintiff, would have paid as much for

Defendant’s Products containing the Representations had they known those Products contained


                                                21
         Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 22 of 38




any amount of harmful or potentially harmful microplastics, let alone at the limits found in

Defendant’s Products – making such omitted facts material to them.

       77.     Defendant’s false, misleading, and deceptive Representations and omissions made

on the labeling of the Products are likely to continue to deceive and mislead reasonable consumers

and the public, as they have already deceived and misled Plaintiff and the Class Members.

       78.     Plaintiff and Class members are entitled to statutory and punitive damages,

equitable relief, attorneys’ fees and costs, and any further relief this Court deems just and proper.

                                    CLASS ALLEGATIONS

       79.     Plaintiff, individually and on behalf of all others, brings this class action pursuant

to Fed. R. Civ. P. 23.

       80.     Plaintiff seeks to represent a class defined as:

               All persons who purchased Products in the United States for personal or household
               use during the fullest period provided by law (“Nationwide Class”).

       81.     Plaintiff also seeks to represent a subclass defined as:

               All persons who purchased the Products in California for personal or household use
               during the fullest period provided by law (“California Subclass”).

       82.     Excluded from the Class and Subclasses are: (1) any Judge or Magistrate presiding

over this action and any members of their families; (2) Defendant, Defendant’s subsidiaries,

parents, successors, predecessors, and any entities in which Defendant or its parents and any

entities in which Defendant has a controlling interest and their current or former employees,

officers, and directors; (3) individuals who allege personal bodily injury resulting from the use of

the Products; and (4) resellers of the Products.

       83.     Plaintiff reserves the right to modify, change or expand the definitions of the Class

based upon discovery and further investigation.




                                                   22
         Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 23 of 38




       84.       Numerosity: The Class is so numerous that the joinder of all members is

impracticable. The Class likely contains thousands of members based on publicly available data.

The Class is ascertainable by records in Defendant’s possession.

       85.       Commonality: Questions of law or fact common to the Class include, without

limitation:

              a. Whether the Products contain microplastics;

              b. Whether a reasonable consumer would consider the presence of harmful

                 microplastics in the Products (and omission thereof) to be material;

              c. Whether Defendant knew or should have known that the Products contain harmful

                 microplastics;

              d. Whether Defendant’s Representations and/or omissions are deceptive;

              e. Whether Defendant’s Representations and/or omissions are false and misleading;

              f. Whether Defendant failed to disclose that the Products contain harmful

                 microplastics;

              g. Whether Defendant concealed that the Products contain microplastics;

              h. Whether Defendant engaged in unfair or deceptive trade practices;

              i. Whether Defendant violated the state consumer protection statutes alleged herein;

              j. Whether Defendant was unjustly enriched; and

              k. Whether Plaintiff and Class members are entitled to monetary damages, injunctive

                 relief, or other damages proscribed by the Court.

       86.       Typicality: Plaintiff’s claims are typical of the claims of Class members. Plaintiff

and Class members were injured and suffered damages in the same manner, have the same claims




                                                  23
         Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 24 of 38




against Defendant relating to the same course of conduct, and are entitled to relief under the same

legal theories.

        87.       Adequacy: Plaintiff will fairly and adequately protect the interests of the Class and

has no interests antagonistic to those of the Class. Plaintiff has retained counsel experienced in

prosecuting complex class actions, including actions with issues, claims, and defenses similar to

the present case. Counsel intends to prosecute this action vigorously.

        88.       Predominance and superiority: Questions of law or fact common to Class members

predominate over any questions affecting individual members. A class action is superior to other

available methods for the fair and efficient adjudication of this case because individual joinder of

all Class members is impracticable, and the amount at issue for each Class member would not

justify the cost of litigating individual claims. Should individual Class members be required to

bring separate actions, this Court would be confronted with multiple lawsuits burdening the court

system while also creating the risk of inconsistent rulings and contradictory judgments. In contrast

to proceeding on a case-by-case basis, in which inconsistent results will magnify the delay and

expense to all parties and the court system, this class action presents far fewer management

difficulties while providing unitary adjudication, economies of scale, and comprehensive

supervision by a single court. Plaintiff is unaware of any difficulties likely to be encountered in

managing this action that would preclude its maintenance as a class action.

        89.       Accordingly, this class action may be maintained under Fed. R. Civ. P. 23(b)(2)

and (b)(3).




                                                   24
         Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 25 of 38



                                      CAUSES OF ACTION

                                          COUNT I
                                  UNJUST ENRICHMENT
      (On behalf of Plaintiff and the Nationwide Class and/or the California Subclass)

       90.     Plaintiff repeats and realleges each and every allegation contained in the preceding

paragraphs as if fully set forth herein.

       91.     Plaintiff brings this Count on behalf of himself and the Nationwide Class and/or

the California Subclass against Defendant.

       92.     This claim is brought under the laws of the State of Connecticut.

       93.     Defendant’s conduct violated, inter alia, state, and federal law by manufacturing,

advertising, labeling, marketing, distributing, and selling the Products while misrepresenting and

omitting material facts, including by making the labeling Representations alleged herein.

       94.     Defendant’s unlawful conduct allowed Defendant to knowingly realize substantial

revenues from selling the Products at the expense of, and to the detriment or impoverishment of,

Plaintiff and Class members and to Defendant’s benefit and enrichment. Defendant has violated

fundamental principles of justice, equity, and good conscience.

       95.     Plaintiff and Class members conferred significant financial benefits and paid

substantial compensation to Defendant for the Products, which were not as Defendant represented

them to be.

       96.     Defendant knowingly received and enjoyed the benefits conferred by Plaintiff and

Class members.

       97.     It is inequitable for Defendant to retain the benefits conferred by Plaintiff and Class

members’ overpayments.

       98.     Plaintiff and Class members seek to establish a constructive trust from which

Plaintiff and Class members may seek restitution.


                                                 25
         Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 26 of 38




                                            COUNT TWO
                    Violation of California Unfair Competition Law (“UCL”)
                            (Cal. Bus. & Prof. Code §§ 17200, et seq.)
                      (On Behalf of Plaintiff and the California Subclass)
       99.     Plaintiff re-alleges and incorporates by reference all allegations contained in this

complaint, as though fully set forth herein.

       100.    This cause of action is brought pursuant to Business and Professions Code Section

17200, et seq., on behalf of Plaintiff and a California Subclass who purchased the Products within

the applicable statute of limitations.

       101.    The UCL. California Business & Professions Code, sections 17200, et seq. (the

“UCL”) prohibits unfair competition and provides, in pertinent part, that “unfair competition shall

mean and include unlawful, unfair or fraudulent business practices and unfair, deceptive, untrue

or misleading advertising.”

       102.    False Advertising Claims. Defendant, in its advertising and packaging of the

Products, made misleading statements and fraudulent omissions regarding the quality and

characteristics of the Products—including material omissions—even though the Products are not

safe because they leach microplastics when used as intended. Such claims and omissions appear

on the label and packaging of the Products, which are sold at retail stores and point-of-purchase

displays, as well as Defendant’s official website and other retailers’ advertisements that have

adopted Defendant’s advertisements.

       103.    Defendant has no reasonable basis for the claims about the Products made in

Defendant’s advertising and on Defendant’s packaging or labeling because the Products are unsafe

for infants and young children. Defendant knew and knows that the Products are not free from

plastic exposure because they leach microplastics into the milk or formula during ordinary use.




                                                26
           Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 27 of 38




However, Defendant intentionally advertised and marketed the Products to deceive reasonable

consumers into believing that the Products are safe.

        104.    Defendant’s labeling and advertising of the Products led to, and continues to lead

to, reasonable consumers, including Plaintiff, believing that the Products are a safe feeding

solution for their children.

        105.    Plaintiff and the California Subclass have suffered injury in fact and have lost

money or property as a result of and in reliance upon the Representations and material omissions—

namely, Plaintiffs and the California Subclass lost the purchase price for the Products they bought

from Defendant.

        106.    Defendant’s conduct, as alleged herein, constitutes unfair, unlawful, and fraudulent

business practices pursuant to the UCL. The UCL prohibits unfair competition and provides, in

pertinent part, that “unfair competition shall mean and include unlawful, unfair or fraudulent

business practices and unfair, deceptive, untrue or misleading advertising.” Cal. Bus & Prof. Code

§ 17200.

        107.    Defendant’s use of various forms of advertising media to advertise, call attention

to, or give publicity to the sale of goods or merchandise that are not as represented in any manner

constitutes unfair competition, unfair, deceptive, untrue or misleading advertising, and an unlawful

business practice within the meaning of Business and Professions Code Sections 17200 and 17531,

which advertisements have deceived and are likely to deceive the consuming public, in violation

of Business and Professions Code Section 17200.

        108.    Defendant failed to avail itself of reasonably available, lawful alternatives to further

its legitimate business interests.




                                                  27
         Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 28 of 38




       109.    All of the conduct alleged herein occurred and continues to occur in Defendant’s

business. Defendant’s wrongful conduct is part of a pattern, practice and/or generalized course of

conduct, which will continue daily until Defendant voluntarily alters its conduct or is otherwise

ordered to do so.

       110.    Pursuant to Business and Professions Code Sections 17203 and 17535, Plaintiff and

the members of the California Subclass seek an order of this Court enjoining Defendant from

continuing to engage, use, or employ its practice of labeling and advertising the sale and use of the

Products. Likewise, Plaintiff and the members of the California Subclass seek an order requiring

Defendant to disclose such misrepresentations and to preclude Defendant’s failure to disclose the

existence and significance of said misrepresentations.

       111.    As a direct and proximate result of Defendant’s misconduct in violation of the UCL,

Plaintiff and members of the California Subclass were harmed in the amount of the purchase price

they paid for the Products. Further, Plaintiff and members of the California Subclass have suffered

and continue to suffer economic losses and other damages including, but not limited to, the

amounts paid for the Products and any interest that would have accrued on those monies, in an

amount to be proven at trial.

       112.    Accordingly, Plaintiff seeks a monetary award for violation of the UCL in damages,

restitution, and/or disgorgement of ill-gotten gains to compensate Plaintiffs and the California

Subclass for said monies, as well as injunctive relief to enjoin Defendant’s misconduct to prevent

ongoing and future harm that will result.

       113.    “Unfair” Prong. Under the UCL, a challenged activity is “unfair” when “any injury

it causes outweighs any benefits provided to consumers and the injury is one that the consumers




                                                 28
         Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 29 of 38




themselves could not reasonably avoid.” Camacho v. Auto Club of Southern California, 142 Cal.

App. 4th 1394, 1403 (2006).

       114.    Defendant’s action of mislabeling the Products with the material omissions does

not confer any benefit to consumers; rather, doing so causes injuries to consumers, who do not

receive products commensurate with their reasonable expectations, overpay for the Products,

receive Products of lesser standards than what they reasonably expected to receive, and are

exposed to increased health risks. Consumers cannot avoid any injuries caused by Defendant’s

deceptive labeling and advertising of the Products. Accordingly, the injuries caused by

Defendant’s deceptive labeling and advertising outweigh any benefits.

       115.    Some courts conduct a balancing test to decide if a challenged activity amounts to

unfair conduct under California Business and Professions Code Section 17200. They “weigh the

utility of the defendant’s conduct against the gravity of the harm to the alleged victim.” Davis v.

HSBC Bank Nevada, N.A., 691 F.3d 1152, 1169 (9th Cir. 2012).

       116.    Here, Defendant’s conduct of labeling the Products with the Representations and

material omissions when the Products leach microplastics into milk or formula during ordinary

use has no utility and financially harms purchasers. Thus, the utility of Defendant’s conduct is

vastly outweighed by the gravity of the harm.

       117.    Some courts require that “unfairness must be tethered to some legislative declared

policy or proof of some actual or threatened impact on competition.” Lozano v. AT&T Wireless

Servs. Inc., 504 F. 3d 718, 735 (9th Cir. 2007).

       118.    Unfair Conduct. Defendant’s labeling and advertising of the Products, as alleged

herein, is deceptive, misleading, and unreasonable, and constitutes unfair conduct. Defendant

knew or should have known of its unfair conduct. Defendant’s material omissions constitute an




                                                   29
          Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 30 of 38




unfair business practice within the meaning of California Business and Professions Code Section

17200.

         119.   There existed reasonably available alternatives to further Defendant’s legitimate

business interests, other than the conduct described herein.

         120.   Defendant could have refrained from labeling the Products with the

Representations and material omissions.

         121.   All of the conduct alleged herein occurs and continues to occur in Defendant’s

business. Defendant’s wrongful conduct is part of a pattern or generalized course of conduct

repeated on thousands of occasions daily.

         122.   Pursuant to Business and Professions Code Sections 17203, Plaintiff and the

California Subclass seek an order of this Court enjoining Defendant from continuing to engage,

use, or employ its practices of labeling the Products with the material omissions.

         123.   Plaintiff and the California Subclass have suffered injury in fact, have lost money

and were exposed to increased health risks as a result of Defendant’s unfair conduct. Plaintiff and

the California Subclass paid an unwarranted premium for these Products.

         124.   Specifically, Plaintiff and the California Subclass paid for Products that are free

from harmful plastic exposure. Plaintiff and the California Subclass would not have purchased the

Products, or would have paid substantially less for the Products, if they had known that the

Products’ advertising and labeling were deceptive.

         125.   Accordingly, Plaintiff seeks damages, restitution and/or disgorgement of ill-gotten

gains pursuant to the UCL.




                                                30
         Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 31 of 38




       126.    “Fraudulent” Prong. The UCL considers conduct fraudulent (and prohibits said

conduct) if it is likely to deceive members of the public. Bank of the West v. Superior Court, 2 Cal.

4th 1254, 1267 (1992).

       127.    Defendant used the material omissions with the intent to sell the Products to

consumers, including Plaintiff and the California Subclass. The material omissions are deceptive,

and Defendant knew, or should have known, of their deception.

       128.    The material omissions are likely to mislead consumers into purchasing the

Products because they are material to the average, ordinary, and reasonable consumer.

       129.    As alleged herein, the misrepresentations by Defendant constitute a fraudulent

business practice in violation of California Business & Professions Code Section 17200.

       130.    Plaintiff and the California Subclass reasonably and detrimentally relied on the

material omissions to their detriment in that they purchased the Products.

       131.    Defendant had reasonably available alternatives to further its legitimate business

interests, other than the conduct described herein. Defendant could have refrained from labeling

the Products with the material omissions.

       132.    All of the conduct alleged herein occurs and continues to occur in Defendant’s

business. Defendant’s wrongful conduct is part of a pattern or generalized course of conduct.

       133.    Pursuant to Business and Professions Code Sections 17203, Plaintiff and the

California Subclass seek an order of this Court enjoining Defendant from continuing to engage,

use, or employ its practice of labeling the Products with the material omissions.

       134.    Plaintiff and the California Subclass have suffered injury in fact and have lost

money as a result of Defendant’s fraudulent conduct. Plaintiff paid an unwarranted premium for

the Products. Specifically, Plaintiff and the California Subclass paid for Products that were safe




                                                 31
        Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 32 of 38




from plastic exposure, when, in fact, the Products leach harmful microplastics into the milk or

formula. Plaintiff and the California Subclass would not have purchased the Products if they had

known the truth. Accordingly, Plaintiff seeks damages, restitution, and/or disgorgement of ill-

gotten gains pursuant to the UCL.

       135.    “Unlawful” Prong. The UCL identifies violations of other laws as “unlawful

practices that the unfair competition law makes independently actionable.” Velazquez v. GMAC

Mortg. Corp., 605 F. Supp. 2d 1049, 1068 (C.D. Cal. 2008).

       136.    Violations of CLRA and FAL. Defendant’s labeling of the Products, as alleged

herein, violates California Civil Code sections 1750, et seq. (the “CLRA”) and California Business

and Professions Code sections 17500, et seq. (the “FAL”) as set forth below in the sections

regarding those causes of action.

       137.      Fraud. Additionally, Defendant’s use of the material omissions to sell the

Products violates California Civil Code sections 1572 (actual fraud), 1573 (constructive fraud),

1709-1710 (fraudulent deceit), and 1711 (deceit upon the public), as set forth above.

       138.    Additional Violations. Defendant’s conduct in making the false representations and

deceptive omission described herein constitutes a knowing failure to adopt policies in accordance

with and/or adherence to applicable laws, as set forth herein, all of which are binding upon and

burdensome to its competitors. This conduct engenders an unfair competitive advantage for

Defendant, thereby constituting an unfair, fraudulent and/or unlawful business practice under

California Business & Professions Code sections 17200-17208. Additionally, Defendant’s

omission of material facts, as set forth herein, violate California Civil Code sections 1572, 1573,

1709, 1710, 1711, and 1770, as well as the common law.




                                                32
           Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 33 of 38




       139.    Unlawful Conduct. Defendant’s packaging, labeling, and advertising of the

Products, as alleged herein, are deceptive, misleading, and unreasonable, and constitute unlawful

conduct.

       140.    Defendant knew or should have known of its unlawful conduct.

       141.    Defendant had reasonably available alternatives to further its legitimate business

interests, other than the conduct described herein. Defendant could have refrained from labeling

the Products with the material omissions.

       142.    All of the conduct alleged herein occurs and continues to occur in Defendant’s

business. Defendant’s wrongful conduct is part of a pattern or generalized course of conduct.

       143.    Pursuant to Business and Professions Code Section 17203, Plaintiff and the

California Subclass seek an order of this Court enjoining Defendant from continuing to engage,

use, or employ its practice of deceptive advertising of the Products.

       144.    Plaintiff and the California Subclass have suffered injury in fact and have lost

money as a result of Defendant’s unlawful conduct. Plaintiff and the California Subclass paid an

unwarranted premium for the Products. Plaintiff and the California Subclass would not have

purchased the Products if they had known that Defendant’s purposely deceived consumers into

believing that the Products are free from harmful plastic exposure.

       145.    Accordingly, Plaintiff seeks damages, restitution and/or disgorgement of ill-gotten

gains pursuant to the UCL.

                                       COUNT THREE
                    Violation of California False Advertising Law (“FAL”)
                           (Cal. Bus. & Prof. Code §§ 17500, et seq.)
                             (On Behalf of the California Subclass)

       146.    Plaintiff re-alleges and incorporates by reference all allegations contained in this

complaint, as though fully set forth herein.



                                                33
             Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 34 of 38




            147.   Plaintiff brings this claim individually and on behalf of the California Subclass who

purchased the Products within the applicable statute of limitations.

            148.   The False Advertising Law, codified at Cal. Bus. & Prof. Code section 17500, et

seq., prohibits “unfair, deceptive, untrue or misleading advertising[.]”

            149.   Defendant violated section 17500 when it advertised and marketed the Products

through the unfair, deceptive, and misleading omission disseminated to the public through the

Products’ labeling, packaging, and advertising. The material omissions were deceptive because

the Products do not conform to them. The material omissions were material because it is likely to

and did mislead reasonable consumers into purchasing the Products.

            150.   In making and disseminating the material omissions alleged herein, Defendant

knew or should have known that the material omissions were untrue or misleading, and acted in

violation of § 17500.

            151.   Defendant’s material omissions were specifically designed to induce reasonable

consumers, like Plaintiff and the California Subclass, to purchase the Products.

            152.   As a direct and proximate result of Defendant’s misconduct in violation of the FAL,

Plaintiff and members of the California Subclass were harmed in the amount of the purchase price

they paid for the Products. Further, Plaintiff and members of the Class have suffered and continue

to suffer economic losses and other damages including, but not limited to, the amounts paid for

the Products, and any interest that would have accrued on those monies, in an amount to be proven

at trial.

            153.   Accordingly, Plaintiff seeks a monetary award for violation of the FAL in damages,

restitution, and/or disgorgement of ill-gotten gains to compensate Plaintiff and the California

Subclass for said monies.




                                                    34
           Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 35 of 38




                                        COUNT FOUR
              Violation of California Consumers Legal Remedies Act (“CLRA”)
                                (Cal. Civ. Code §§ 1750, et seq.)
                            (On Behalf of the California Subclass)
                                    (Injunctive Relief Only)

       154.    Plaintiff re-alleges and incorporates by reference all allegations contained in this

complaint, as though fully set forth herein.

       155.    Plaintiff brings this claim individually and on behalf of the California Subclass who

purchased the Products within the applicable statute of limitations.

       156.    The CLRA provides that “unfair methods of competition and unfair or deceptive

acts or practices undertaken by any person in a transaction intended to result or which results in

the sale or lease of goods or services to any consumer are unlawful.”

       157.    The Products are “goods,” as defined by the CLRA in California. Civil Code §

1761(a).

       158.    Defendant is a “person,” as defined by the CLRA in California Civil Code §

1761(c).

       159.    Plaintiff and members of the California Subclass are “consumers,” as defined by

the CLRA in California Civil Code § 1761(d).

       160.    The purchase of the Products by Plaintiff and members of the California Subclass

are “transactions” as defined by the CLRA under California Civil Code § 1761(e).

       161.    Defendant violated the following sections of the CLRA by selling the Products to

Plaintiff and the California Subclass through the misleading, deceptive, and fraudulent material

omissions:

       a. Section 1770(a)(5) by representing that the Products have “characteristics, . . . uses [or]

       benefits . . . which [they] do not have.”




                                                   35
         Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 36 of 38




       b. Section 1770(a)(7) by representing that the Products “are of a particular standard,

       quality, or grade . . . [when] they are of another.”

       c. Section 1770(a)(9) by advertising the Products “with [the] intent not to sell them as

       advertised.”

       162.    Defendant’s uniform and material omission of the safety risks and danger regarding

the Products was likely to deceive, and Defendant knew or should have known that its omissions

and misrepresentations were misleading.

       163.    Defendant’s conduct is malicious, fraudulent, and wanton in that Defendant

intentionally misled and withheld material information from consumers, including Plaintiff, to

increase the sale of the Products.

       164.    Plaintiff and members of the California Subclass could not have reasonably avoided

such injury. Plaintiff and members of the California Subclass were misled and unaware of the

existence of facts that Defendant suppressed and failed to disclose, and Plaintiff and members of

the California Subclass would not have purchased the Products and/or would have purchased them

on different terms had they known the truth.

       165.    Plaintiff and the California Subclass suffered harm as a result of Defendant’s

violations of the CLRA because they relied on material omissions when deciding to purchase the

Products. The material omissions were a substantial factor together. The material omissions were

material because a reasonable consumer would consider it important in deciding whether to

purchase the Products.

       166.    Soon after the filing of this lawsuit, Plaintiff’s counsel will send a pre-suit demand

letter pursuant to the CLRA demanding that Defendant correct and resolve its widespread

practices. If Defendant does not adequately address the relief requested in Plaintiff’s CLRA notice




                                                 36
         Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 37 of 38




letter within thirty (30) days of the letter required under the CLRA, Plaintiff shall (or with leave

of Court), amend her Complaint to allege monetary damages under the CLRA.

       167.    Given that Defendant’s conduct violated California Civil Code section Plaintiff and

members of the California Subclass are entitled to seek, and do hereby seek, injunctive relief to

put an end to Defendant’s violations of the CLRA and to dispel the public misperception generated,

facilitated, and fostered by Defendant’s false advertising campaign.

       168.    Plaintiff has no adequate remedy at law. Without equitable relief, Defendant’s

unfair and deceptive practices will continue to harm Plaintiff and the California Subclass.

Accordingly, Plaintiff seeks an injunction to enjoin Defendant from continuing to employ the

unlawful methods, acts, and practices alleged herein pursuant to section 1780(a)(2), and otherwise

require Defendant to take corrective action necessary to dispel the public misperception

engendered, fostered, and facilitated through Defendant’s deceptive labeling of the Products with

the Representations and material omissions.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, prays

for relief and judgment against Defendant as follows:

           a. Certifying the Class pursuant to Rule 23 of the Federal Rules of Civil Procedure,

               appointing Plaintiff as representative of the Class and Subclasses, and designating

               Plaintiff’s counsel as Class Counsel;

           b. Awarding Plaintiff and Class members compensatory, statutory, or other monetary

               damages, in an amount to be determined at trial;

           c. Awarding Plaintiff and Class members appropriate relief, including but not limited

               to actual damages (except under the CLRA, which is limited to injunctive relief);




                                                37
        Case 3:24-cv-01164-MPS Document 1 Filed 07/08/24 Page 38 of 38




          d. For restitution and disgorgement of profits;

          e. Awarding Plaintiff and Class members reasonable attorneys’ fees and costs as

              allowable by law, except under the CLRA;

          f. Awarding pre-judgment and post-judgment interest;

          g. For injunctive relief; and

          h. Granting any other relief as this Court may deem just and proper.

                                  JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury of all claims so triable.

Dated: July 8, 2024                                   Respectfully Submitted,

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                                                      Classes




                                                 38
